Case 2:15-cv-04424-AG-AJW Document 400 Filed 06/05/17 Page 1 of 2 Page ID #:19402

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 15-4424-AG(AJWx)                                           Date   June 5, 2017
 Title             ATEN TECHNOLOGY CO, LTD v UNICLASS TECHNOLOGY CO, LTD, et al.



 Present: The                    ANDREW J. GUILFORD, U.S. District Judge
 Honorable
                        Ivette Gomez                                          Miriam Baird
                         Deputy Clerk                                         Court Reporter


                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      Philip Riley, PHV                                    Joseph Pia, PHV
                                                                          Robert Aycock, PHV
                                                                             Jen-Feng Lee
 Proceedings: 1. PRETRIAL CONFERENCE
      2. PLAINTIFF’S MOTION IN LIMINE REGARDING REFERENCE TO UNPRODUCED
SOURCE CODE [DKT 308]
      3. PLAINTIFF’S MOTION IN LIMINE REGARDING ARGUMENT THAT THE
ATEN/UNICLASS LICENSE AGREEMENT ONLY INCLUDES THREE PATENTS [DKT 309]
      4. PLAINTIFF’S MOTION IN LIMINE REGARDING REFERENCE TO “FORUM
SHOPPING” [DKT 311]
      5. PLAINTIFF ATEN’S MOTION TO STRIKE EXPERT TESTIMONY OF SCCOT W
CRAGUN [DKT 312]
      6. PLAINTIFF’S MOTION TO EXDLUDE EXPERT TESTIMONY [DKT 313]
      7. DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE THE EXPERT OPINION AND
TESTIMONY OF JEFFREY SNELL [DKT 316]
      8. DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE EXPERT OPINIONS AND
TESTIMONY [DKT 322]
      9. PLAINTIFF’S MOTION TO EXCLUDE EXPERT TESTIMONY [DKT 294]
      10. PLAINTIFF’S MOTION IN LIMINE REGARDING REFERENCE TO “FORUM
SHOPPING” [DKT 324]
      11. DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE ANY CLAIM OR EVIDENCE OF
BREACH OF CONTRACT [DKT 373]

Cause is called for hearing and counsel make their appearances. Pretrial Conference held.
Motions are argued and ruled on in a separate minute order to issue.

Final Pretrial Conference Order signed and filed.
                                                                                                :       40
                                                               Initials of Preparer   lmb

CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 2
Case 2:15-cv-04424-AG-AJW Document 400 Filed 06/05/17 Page 2 of 2 Page ID #:19403

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CV-90 (06/04)                         CIVIL MINUTES - GENERAL                         Page 2 of 2
